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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,          )
                                   )
          Plaintiff,               )
                                   )          CR No. 21-208
                                   )          Washington, D.C.
       vs.                         )          April 21, 2022
                                   )          2:04 p.m.
THOMAS WEBSTER,                    )
                                   )
          Defendant.               )
___________________________________)


       TRANSCRIPT OF PRETRIAL CONFERENCE PROCEEDINGS
             BEFORE THE HONORABLE AMIT P. MEHTA
                UNITED STATES DISTRICT JUDGE


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Proceedings recorded by mechanical stenography; transcript
produced by computer-aided transcription
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1                          P R O C E E D I N G S

2                COURTROOM DEPUTY:    All rise.    The Honorable

3    Amit P. Mehta presiding.

4                THE COURT:   Good afternoon, everyone.      Please be

5    seated.

6                COURTROOM DEPUTY:    Good afternoon, Your Honor.

7    This is Criminal Case No. 21-208, United States of America

8    versus Thomas Webster.

9                Brian Kelly, Hava Mirell, and Katherine Nielsen

10   for the government.

11               James Monroe for the defense.

12               The defendant's appearing in person for these

13   proceedings.

14               THE COURT:   Okay.   Counsel, good afternoon.

15               Mr. Webster, good afternoon to you.

16               THE DEFENDANT:    Good afternoon, Your Honor.

17               THE COURT:   Welcome, everyone.     This is the first

18   time we've all been in person together.        It's nice to be

19   with you.

20               Okay.   So we're here for our pretrial conference.

21   Let me just sort of go through what I want to go over today,

22   certainly not to the exclusion or preclusion of any issues

23   anybody wants to raise.

24               But I think we need to arraign Mr. Webster on the

25   superseding indictment.      I want to just confirm that I've
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                                                                       4

1    resolved any motions in limine, just confirmation of

2    disclosure of grand jury, Jencks, et cetera, and then I want

3    to go through the Joint Pretrial, including, most sort of

4    pertinently, the voir dire question, which I've sort of

5    looked at carefully.     And just go from there.      And

6    ultimately just wind up with just talking about courtroom

7    logistics and the like, okay?

8               MR. MONROE:    Judge, do you mind if I sit next to

9    Mr. Webster?   He's having a hard time hearing me.

10              THE COURT:    As long as the marshal is okay with

11   it, I'm fine with it.

12              U.S. MARSHAL:    It's fine, Your Honor.

13              THE COURT:    Just so you all know, the hope is to

14   have all this Plexiglass down by Monday, but more on that to

15   come.

16              Okay.   So why don't we first have Mr. Webster

17   arraigned on the superseding indictment.

18              So, Mr. Webster, I'll just ask you to stand.

19   Actually, you don't even need to stand, you can have a seat.

20   And I'll just ask the Courtroom Deputy to proceed with the

21   arraignment and then I'll turn to Mr. Webster's counsel.

22              COURTROOM DEPUTY:     And, Mr. Webster, you can have

23   a seat.

24              Mr. Webster --

25              THE COURT:    By the way, let me just interrupt.
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                                                                        5

1    Is there -- if we gave him a headset, would that help?

2               MR. MONROE:    I want him to be able to hear me just

3    so I can explain to him what the Court and the government's

4    speaking about.

5               THE COURT:    Okay.   Is he having trouble hearing

6    me?

7               THE DEFENDANT:    It's a little bit of an echo in

8    here.   I have a disability with hearing.

9               THE COURT:    Okay.

10              Well, why don't we just give you at least one of

11   these headsets that if at any point if you feel like you

12   need it, that would be helpful.      All of us are speaking into

13   microphones that would be amplified through that headset.

14              MR. MONROE:    Without interrupting the Court,

15   I wanted to talk to him quietly if he wanted to ask me any

16   questions.

17              THE COURT:    Sure.   No problem.

18              COURTROOM DEPUTY:     Mr. Webster, in Criminal Case

19   No. 21-208, you've been charged with the following:

20              Count 1, assaulting, resisting, or impeding

21   certain officers using a dangerous weapon, in violation of

22   Title 18 United States Code Sections 111(a)(1) and (b);

23              Count 2, civil disorder, in violation of Title 18

24   united States Code Section 231(a)(3);

25              Count 3, entering and remaining in a restricted
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1    building or grounds with a deadly or dangerous weapon, in

2    violation of Title 18 United States Code Section 1752(a)(1)

3    and (b)(1)(A);

4               Count 4, disorderly and disruptive conduct in a

5    restricted building or grounds with a deadly or dangerous

6    weapon, in violation of Title 18 United States Code Section

7    1752(a)(2) and (b)(1)(A);

8               Count 5, engaging in physical violence in a

9    restricted building or grounds with a deadly or dangerous

10   weapon, in violation of Title 18 United States Code Section

11   1752(a)(4) and (b)(1)(A);

12              And to Count 6, active physical violence in a

13   Capitol Grounds or buildings, in violation of Title 40

14   United States Code Section 5104(e)(2)(F).

15              Do you wish to waive formal reading of the

16   superseding indictment, and how do you wish to plead?

17              MR. MONROE:    We would waive a formal reading of

18   the indictment, Your Honor, and enter a plea of not guilty

19   as to the same.

20              THE COURT:    Okay.   Thank you, Mr. Monroe.

21              So the record will reflect not-guilty pleas as to

22   each of the six counts of the superseding indictment.

23              Let me just confirm so that it's on the record.

24   As I understand the changes that have been made from the

25   preceding indictment, they're sort of -- they fall into two
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1    categories; Count 6 of the prior indictment has been

2    dropped.   So what was originally Count 7 has moved up to

3    Count 6.   And then there's just some tweaking of the

4    language in Count 3 and Count 1; is that right?

5               MS. MIRELL:    That is correct, Your Honor.

6               THE COURT:    Okay.

7               And so let me just confirm then with Mr. Monroe

8    that there's no objection to proceeding with the trial as

9    scheduled in light of the new indictment?

10              MR. MONROE:    No objection, Your Honor.

11              THE COURT:    Okay.   All right.

12              Okay.   So let's just go down this list of things

13   I'd like to discuss and then obviously at any point if

14   anybody wants to raise anything, please do.

15              So I think I'm correct in saying that all the

16   outstanding motions in limines, as well as the motion to

17   transfer, I've resolved all of that, right, there's nothing

18   left to be resolved pretrial?

19              MS. MIRELL:    Correct, Your Honor.

20              THE COURT:    Okay.

21              And I want to just confirm that I think today may

22   be even the due date or perhaps it has already passed, that

23   Jencks, grand jury, and Brady disclosures have all been

24   made?

25              MS. MIRELL:    Yes, Your Honor, except for the grand
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                                                                          8

1    jury transcript from the most recent superseding indictment,

2    which is still being prepared.      We have disclosed the grand

3    jury and Jencks.

4               THE COURT:    Ms. Mirell, I'm going to ask you to

5    come up to the microphone, because not only am I having

6    trouble hearing, but the court reporter needs you to be in

7    the mic too.

8               MS. MIRELL:    My apologies, Your Honor.      Would you

9    like me to keep the mask on as well?

10              THE COURT:    You can take it off if you're

11   addressing me, that's fine.      Either way.    Whatever you're

12   comfortable with.

13              MS. MIRELL:    Yes, we have disclosed the grand jury

14   materials, except for the most recent superseding

15   indictment, because that transcript is still being prepared.

16              THE COURT:    Okay.

17              MS. MIRELL:    We have disclosed the Jencks for the

18   witnesses that we have noticed, and we will continue to

19   disclose any additional Jencks if it becomes available to

20   us.

21              THE COURT:    Okay.

22              And I'm not asking you to divulge substance, but

23   is it fair -- well, is there reason to think that any of the

24   testimony that supports the new superseding indictment is

25   materially different than what supported the prior
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                                                                            9

1    indictment?

2                MS. MIRELL:   No, Your Honor.

3                THE COURT:    All right.

4                So obviously you'll get that, Mr. Monroe.        I'm not

5    privy to what it says, but the presumption here is that it

6    doesn't say anything more than what you've already gotten.

7    If for some reason you think that turns out not to be

8    correct, you'll just have to let me know, okay?

9                MR. MONROE:   Yes, sir.

10               THE COURT:    All right.

11               Let's talk then about the Joint Pretrial Statement

12   and its contents.    Thank you, all, for putting that

13   together.

14               Your joint statement of the case, perfectly okay

15   with me.    I know we'll have to tweak that to state 6 instead

16   of 7, where appropriate, and we'll take care of that.

17               Let's talk about instructions -- excuse me, the

18   voir dire questions.

19               So let me first just back up.      I don't think any

20   of you have been before me for trial and so may not know

21   exactly how I conduct voir dire, and, frankly, Mr. Monroe

22   may not be familiar with how voir dire is conducted

23   generally in this court.

24               But the voir dire will be conducted by my reading

25   the questions that we all agree upon.
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                                                                          10

1               The jurors will have in hand a notecard.         That

2    notecard is designed for them to write down the question

3    numbers to which they answer yes.

4               So, for example, question 4 very simply is,

5    do you recognize any of the other potential jurors in the

6    panel, courtroom staff, or me?       If somebody thinks the

7    answer to that question is yes, they would write down the

8    No. 4.   If they don't think -- if the answer is no, they

9    don't need to write that down.

10              So all of the voir dire questions that I need to

11   ask consistent with that process need to have, one, a

12   yes-or-no response and a response that, when affirmative, is

13   something I need to follow up on.

14              There's one question in particular that either is

15   going to have to be reworded or dropped for that very

16   problem, because I think if somebody says yes -- excuse me,

17   if somebody says no, it wouldn't be captured in the way that

18   I've suggested, but we'll get to that in a moment.          And we

19   can talk more details about how voir dire will proceed, but

20   I just wanted to give that backdrop.

21              So I am fine with questions 1 through 5.         I just

22   want make sure that the parties essentially want me to, on

23   question 1, read the statement of the case that has been

24   jointly agreed upon or whether -- I will also do an

25   instruction of the jury before openings, and that's
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1    typically where I give the more fulsome description of the

2    case.   But I'm happy to give the more fulsome description of

3    the case both in connection with question 1 and in

4    connection with the pretrial instructions.

5                MR. MONROE:    I'm sorry, I was looking for my voir

6    dire questions, Judge.

7                Could you ask me the question, sir?

8                THE COURT:    So the question was about question 1.

9    You all have said, you know, I should read the statement of

10   the case.    The statement of the case is what you have

11   presented on page 1 and 2.

12               My question was, I give a description of the case

13   both in connection with voir dire and as part of my pretrial

14   instructions before opening.

15               MR. MONROE:    Yes, sir.

16               THE COURT:    And often -- it is often the case that

17   the more detailed instruction of the case comes during the

18   pretrial instructions, as opposed to in question 1.

19               Now, I'm happy to do that differently here; I can

20   just read this joint statement of the case as part of

21   question 1 and just repeat it during the pretrial

22   instructions, if everybody is comfortable with that?

23               MS. MIRELL:    We're comfortable with the Court's

24   ordinary practice.

25               MR. MONROE:    Your Honor, that would be fine by the
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                                                                         12

1    defense.

2                THE COURT:   Okay.

3                Well, then we'll need to come up with something

4    that is a little bit abbreviated.       And I'll draft something

5    up and circulate it to everybody for your consideration,

6    okay?

7                All right.   So the next issue I have concerned

8    question 6 that you all have proposed, this is on page 2.

9    It reads:    Do you or someone you know have a direct or

10   indirect connection to the events, et cetera?

11               I wasn't quite sure what "direct or indirect"

12   meant.   It sort of left me asking the question:         How does

13   one distinguish between the two?       And if I couldn't figure

14   that out, I'm not sure the average juror would understand

15   the distinction.

16               So I'm not quite sure what you all are trying to

17   get at and so whether we ought to sort of refashion those

18   terms or just drop them altogether.

19               MR. KELLY:   Your Honor, speaking for the

20   government, I think since "direct or indirect," as you note,

21   is somewhat nebulous, perhaps we could phrase the question

22   just more directly, which is:       Did you or someone you know

23   personally participate in or personally witness the events

24   that occurred at the U.S. Capitol on January 6th, 2021?

25   I think that more cuts to the chase of what it is we're
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                                                                        13

1    concerned about.

2               THE COURT:    So it would say -- and, Mr. Monroe,

3    you tell me if you're okay with this:        Do you or someone you

4    know -- do you or someone you know personally witness the

5    events that occurred at the U.S. Capitol on January 6th,

6    2001 [sic]?

7               Now, that is still a little vague in the following

8    sense, that a lot of people might think, yeah, I witnessed

9    it because I saw it on TV.

10              MR. MONROE:    I was thinking, Judge, we can just

11   drop out the term "or indirect" and just leave the rest of

12   the way it reads.     This way we can identify those people who

13   may have either participated on the events of January 6th,

14   either as a civilian or as part of the government present,

15   or may have been out and about -- I was out there today,

16   it's a gorgeous day out there today.        There's a huge lawn

17   area; they could have stood back pretty far, even as far

18   back as Madison and seen everything go down without even

19   being part of it.     So that's why we wanted to capture and

20   identify any of the potential jurors who had that

21   experience.

22              I think the question gets clouded when we ask "or

23   indirect."    So if you were there and you know someone that

24   was there, I think it's fair for us to know what that

25   experience includes.
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                                                                        14

1               THE COURT:    How about this:     Were you or someone

2    you know a participant in or a physically present witness to

3    the events that occurred at the U.S. Capitol on January 6th,

4    2021?

5               MR. MONROE:    That's perfect, Judge.

6               THE COURT:    Okay.    I have it "physically" because

7    I don't want somebody to think, yeah, I saw it on TV and

8    therefore I was a witness.

9               MR. MONROE:    Yeah.

10              MS. MIRELL:    The government agrees.

11              THE COURT:    So we'll change 6 to that.

12              Questions 7 and 8, I will ask the first part of

13   the question but not the second.       So, in other words, I'll

14   ask in question 7, have you closely or regularly followed

15   the news about the events that took place at the U.S.

16   Capitol or the government's investigation of those events?

17   If the answer is yes, I'll then follow up in the individual

18   voir dire with the proposed follow-up question.          And the

19   same will be true for question 8, okay?

20              Question 9, I think we should -- and the same

21   thing is true here.     I'm not going to ask that second

22   question in question 9.      And I think we need to add the

23   following language:     Have you ever watched video of this

24   defendant from January 6th, 2021, on the news or on the

25   Internet, or read a news story about this defendant?
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1               And I think we can just leave it there.         I mean, I

2    could elaborate some more, but I think that probably

3    captures it.

4               I didn't see the question that captured where

5    anybody had read about the story, as opposed to just viewing

6    the video of it, and so that's why I'm suggesting that.

7    Everybody okay with that?

8               MS. MIRELL:    Yes from the government.

9               THE COURT:    Okay.

10              All right.    So this the question that I was

11   alluding to earlier that sort of flips the answers.          The

12   question is:    No matter what you've heard or seen about the

13   events, et cetera, et cetera, and no matter what opinions

14   you may have formed, can you put all of that aside and

15   decide the case, et cetera?

16              If somebody says "yes," that's not somebody I want

17   to follow up with questions regarding, right?         It's the

18   people who say "no" that we need to identify.         So my usual

19   instructions wouldn't work for this question.

20              So we either need to rephrase it or I might

21   suggest just drop it altogether, because I feel like

22   everything else, all the other questions that we will ask,

23   will get to the heart of the same question in just smaller

24   bites.   So it might save us a little bit of time trying to

25   reword this.    I was trying to figure out how to reword it to
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1    get the "yes" answer, and I found it a little bit difficult.

2               MR. MONROE:    So what we're trying to capture by

3    that question, and Your Honor had your thumb on it, we want

4    that visceral response to, you know, based on everything in

5    your totality of your experience, everything you've heard,

6    can you still be fair and impartial, right?         If that

7    question is seen in all types of cases and it loads up a

8    potential juror to respond viscerally.        So I'd like to leave

9    a question like that present.

10              THE COURT:    I mean, question 11, I think, gets to

11   the heart of the same thing.      You know, do you have such

12   strong feelings or opinions about the events that took place

13   that would make it difficult for you to serve as a fair and

14   impartial juror in the case?      And if somebody writes down

15   "yes" or if somebody responds "yes," that's a signal for us

16   to follow up.    So I think the same objective will be

17   achieved in question 11.      Is that okay with you, Mr. Monroe?

18              MR. MONROE:    Yes, Judge.

19              THE COURT:    So we'll cross out 10.      I'll cross out

20   10.

21              I am going to add, after question 11, one of the

22   questions that Mr. Monroe has proposed concerning feelings

23   about President Trump and his supporters, I think that's a

24   fair question to ask.     And so that question will be slightly

25   worded differently than what you've suggested, but it will
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1    be as follows.

2               MR. MONROE:    Could you repeat the question, Judge?

3               THE COURT:    So I'm going to add after what's

4    currently question 11 --

5               MR. MONROE:    Yeah.

6               THE COURT:    -- I'm going add a question that's not

7    on your agreed-upon list.

8               MR. MONROE:    Okay.

9               THE COURT:    And I'm going to insert, after

10   question 11, one of the questions that you've proposed,

11   Mr. Monroe, and that's on page 8 concerning opinions of

12   former President Trump and his supporters, okay?

13              And I'm going to word that question as follows

14   so it's consistent with question 11:        Do you have such

15   strong feelings about former President Trump or his

16   supporters, positive or negative, that would make it

17   difficult for you to serve as a fair and impartial juror in

18   this case?   Okay?

19              MR. MONROE:    That's perfect, Judge.

20              THE COURT:    Okay.

21              I mean, I don't want to assume that a District

22   resident will only have feelings in one way or the other --

23   only in one direction, which is why I included the positive

24   or negative, so we'll include that.

25              All right.    The next question I had concerned 13B,
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1    which is, has any member of that group ever served in the

2    Armed Forces?    I'm not sure why we need to ask that

3    question.    And I fear that it will also elicit a lot of

4    "yes" responses.    And, frankly, I'm not quite sure, if it

5    does, when it does elicit a "yes" response, what the

6    follow-up is to be to that question; in other words, how

7    does that question at all try to weed out bias.

8                MS. MIRELL:    I believe the defendant requested

9    that question.

10               THE COURT:    Okay.

11               MR. MONROE:    The jury will hear that both the

12   government's main witness, Officer N.R., and Tom Webster

13   were both in the service.

14               So I wanted to hear if any of the jurors

15   themselves had the same military experience and could relate

16   to either N.R. or Mr. Webster, and being able to make a

17   calculated decision whether this is, perhaps, a juror we may

18   want to challenge.

19               I will add, this, too, sir, that when you're in

20   the Armed Forces, it's a little bit of a team mentality.

21               THE COURT:    I guess the question is, what am I

22   supposed to do with that?      So if somebody says "yes," 13B,

23   they say "yes" or if they say "no," what am I supposed to do

24   in terms of following up to kind of get to the kind of bias

25   that either side may be looking to?
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1                MR. MONROE:    Just simply, what branch of service

2    did you serve in?

3                THE COURT:    But that doesn't tell me anything

4    about whether this person is suitable to serve or not.

5                MR. MONROE:    There's a lot of jurors who you could

6    identify without them telling you, if they told you about

7    their backgrounds a little bit, that they may have parallel

8    experience with either the main witness for the government

9    or Mr. Webster.    Here we're asking whether or not a

10   prospective juror may have been in the Navy or the Marine

11   Corps or the Army or perhaps the Marine Corps.         That's all

12   we're really trying to get to.

13               THE COURT:    Okay.   I mean, I'll ask it.     I mean --

14               MR. MONROE:    And you could really skinny it down,

15   Judge, and say, did you have an opportunity to serve this

16   country either in the United States Navy or Marine Corps?

17   Because those are the two branch of services that are

18   relevant.

19               THE COURT:    It's not relevant -- look, I mean,

20   unless you're going to tell me something about your defense

21   here and what, perhaps, your client's anticipated testimony

22   is going to be, I guess I'm not sure how military service is

23   at all relevant and particularly how military service in a

24   particular branch -- now, you know, if the officer is going

25   to be asked, can you tell us about what you did before you
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1    became a police officer and he says, I was in the service

2    for X years or your client testifies and says the same

3    thing, okay.

4               MR. MONROE:    Well, it appears, for Officer N.R.,

5    in his -- one of the statements that were prepared in a

6    submission to this Court, that he was in the Navy, Navy

7    Corpsman, how surprised he was that Mr. Webster, who was

8    holding a Marine Corps flag, behaved the way he did.

9               THE COURT:    I mean, maybe he said that in a

10   statement, but I'm not sure why that would at all be

11   relevant at trial.     In other words, if the government tried

12   to elicit his personal view of whether Mr. Webster's

13   reaction was surprising or get his opinion about it, I don't

14   know that that's even relevant.

15              MR. MONROE:    We're just trying to assess whether a

16   particular --

17              THE COURT:    Here, I know what you're trying to

18   assess, which is that you'd like to figure out if somebody's

19   got, you know, armed services background.

20              It's sort of a wash in this case because both

21   sides, you know -- the victim here has armed services

22   background, your client has armed services background, and

23   you're looking for people that you think might be able to

24   relate to your client more than the government.          I get it.

25              So I'll ask the question, but I'm not going to
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                                                                        21

1    follow up on it in any other way than to just, can you tell

2    us which branch and that's it, all right?         So this will

3    essentially function as a background kind of question.

4    That's all.

5               MR. MONROE:    I'd like to stand by the request and

6    just offer my respectful exception.

7               THE COURT:    I'm sorry?

8               MR. MONROE:    I'd like to stand by the request and

9    offer the Court my respectful exception, please.

10              THE COURT:    Yeah, like I said, I'll leave it in

11   there, but I'm not going to -- typically what, as you'll

12   see, a lot of these questions are designed to elicit an

13   answer that I can then follow up with with questions that

14   are designed to determine whether the person can serve as a

15   fair and impartial juror.

16              So, you know, for example, the police officer

17   question is a valid one, because, you know, you're going to

18   hear police testimony in this case, is there anything about

19   the relationship with your family member that might make you

20   think you can't be fair and impartial in this case.          I mean,

21   I don't know that that's the same thing here with respect to

22   Armed Forces.    But in any event, I'll ask the question and

23   limit any follow-up.

24              Question 13 -- all right.       There's also been a

25   question requested, I think, by Mr. Monroe asking whether
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                                                                           22

1    any member of the group -- I think it was a question he

2    tried to get at about whether anybody's been involved in a

3    physical altercation with a police officer before.          I think

4    that's a question that you tried to get to, Mr. Monroe; is

5    that right?

6               MR. MONROE:    Yes, sir.

7               THE COURT:    All right.

8               So I'm going to include as 13E, has any member of

9    that group ever been involved in a physical altercation with

10   a member of law enforcement, okay?

11              All right.    Question 14 I'm going take out because

12   I think it's redundant of question 12 and what we're going

13   to get out of people in question 13A.        I don't think we need

14   to ask that question again, okay?

15              I don't understand the reason we need question 15.

16   This asks, you know, about obtaining evidence by search

17   warrant.

18              MS. MIRELL:    Your Honor, the government is fine

19   with removing this question.

20              THE COURT:    Mr. Monroe, any objection to removing

21   it?

22              MR. MONROE:    No, Judge.

23              THE COURT:    Just so you all know, my practice with

24   respect to this is, because it's hard to avoid the

25   testimony, you know, "How did you get his phone records?"
     Case 1:21-cr-00208-APM Document 126 Filed 02/28/23 Page 23 of 80

                                                                        23

1    "Well, we got a warrant."

2               So my practice is just to give a limiting

3    instruction to the jury when that evidence is introduced to

4    say, look, you are to draw no inference from the fact that a

5    judge issued a warrant.      That information is just being

6    given to you to tell you how the information was obtained

7    and nothing more than that.      And I repeat that same

8    instruction as part of my closing instructions, okay?

9               All right.    16, I think, just needs to be modified

10   a little bit.    The final question needs to say, just so it's

11   parallel with the prior sentences:       Would you have any

12   difficulty presuming Mr. Webster to be innocent or this

13   allocation of the burden of proof, okay?        Everybody okay

14   with that addition?

15              MS. MIRELL:    Yes, Your Honor, from the government.

16              THE COURT:    Okay.

17              MR. MONROE:    Yes, Judge.

18              THE COURT:    So that is my -- I'm okay with

19   everything else that you all have proposed, and I'll give

20   those.

21              The remaining questions that Mr. Monroe and

22   Mr. Webster have proposed that I have not and will not be

23   incorporating into the voir dire are questions 1, 3, 4, 5,

24   and 7.   I think they're either just -- you know, they're

25   questions that are essentially redundant of what we're
     Case 1:21-cr-00208-APM Document 126 Filed 02/28/23 Page 24 of 80

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1    already going to be asking of these jurors or questions that

2    really aren't designed to elicit anything that's terribly

3    useful.

4                And, you know, I also don't want to -- so that's

5    it; in other words, I'm going to drop those.         I think the

6    information you're trying to elicit from those questions is

7    going to come from what is now, I think, at least 20 voir

8    dire questions that's going to ask a whole host of

9    information about people's predisposition to their views

10   about the events of January the 6th, okay?

11               All right.   Then there is what you all have put on

12   questions 8 -- I mean, pages 8 and 9 and 10 and 11.          And I

13   wasn't sure what you wanted me to do with this.          And it

14   looks like -- or it feels like you want to have some

15   questionnaire completed by prospective jurors that you can

16   look at while you're assessing the juror, which I'm not sure

17   I was prepared to do in this case and will certainly add to

18   the time of jury selection, both in terms of the time it's

19   going to take for them to complete any such questionnaire

20   and the fact it might elicit more questions than the voir

21   dire questions do and not necessarily for reasons that are

22   relevant.    And some of these are, I think, sort of

23   redundant.    So in any event...

24               MR. KELLY:   Your Honor, I think the parties, or at

25   least the government, had envisioned this as somewhat of a
     Case 1:21-cr-00208-APM Document 126 Filed 02/28/23 Page 25 of 80

                                                                            25

1    background questionnaire.

2               I think Your Honor's suspicion was correct.             We're

3    fine not doing something like that in this case.          There is

4    some information, though, that would have been encompassed

5    within this questionnaire that we think would -- perhaps we

6    could fashion one or two additional voir dire questions just

7    for things such as, you know, trouble seeing or hearing,

8    medical problems, ability to read and speak English, those

9    sorts of things that we may want to suss out if any

10   prospective member is going to self-identify some issue that

11   wouldn't necessarily be readily apparent to the parties or

12   Your Honor that would make them serving on a jury difficult

13   for reasons other than potential bias.

14              THE COURT:    I mean, I can tell you that we've got

15   sort of the catch-all question that's currently 22.

16              And, you know, I find that it's pretty

17   self-evident, once we get into the individual voir dire,

18   whether somebody has any of the issues that you're seeking

19   to spot, whether it's inability to hear, difficulty with

20   English; I don't think I've ever had anybody have that

21   issue.   So, you know, I'm not -- I mean, if you all want to

22   come up with something, but I'm not sure I want to answer

23   some initial question that, here are the ten things that we

24   think might make it difficult for you to be a juror, tell us

25   which category you fall in.
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1               I am reminded, however, that I think -- you know,

2    I've now been asking a standard COVID question, which

3    I don't think there is one in your proposed instructions, or

4    maybe I missed it, but it's essentially a question that

5    says, look, does anybody have such strong feelings or

6    concerns about COVID-19 that would make it -- that they

7    think would make it difficult for them to serve.

8               MR. MONROE:    Page 9, sir, letter L.

9               THE COURT:    Yeah, right, that's what I'm saying.

10   I will take sort of that one.       And I'm reminded that I'll

11   insert my sort of standard question about COVID concerns

12   into the proposed voir dire, okay?

13              So, Mr. Monroe, are you okay with sort of

14   jettisoning what this otherwise -- what looks like what was

15   considered to be a juror questionnaire?

16              MR. MONROE:    I completely understand what the

17   government was trying to achieve here.        I agree with their

18   position that there should be some inquiry as whatever

19   direct or broad the Court thinks is proper to make sure that

20   the folks that are selected who do understand English and

21   not suffering from a disability keep them to follow along

22   with the testimony.     And I wouldn't want it to be too broad,

23   Judge, where someone wouldn't be comfortable telling us

24   maybe that --

25              THE COURT:    I can tell you, Mr. Webster [sic], in
     Case 1:21-cr-00208-APM Document 126 Filed 02/28/23 Page 27 of 80

                                                                        27

1    my entire time on this bench, I've never had a juror shy

2    away from telling me that here's the reason I can't serve.

3               MR. MONROE:    Yes.

4               THE COURT:    People are actually usually more than

5    happy to explain what their problem is --

6               MR. MONROE:    Understood.

7               THE COURT:    -- that they think is going to get

8    them out of jury service.

9               And, you know, I promise you we will catch it,

10   because we will be doing an individual voir dire of

11   everybody regardless of whether they answer any of these

12   questions "yes."    And given the nature of this case and

13   given the nature of these questions, I've got to believe

14   we're not going to have very few blank cards of prospective

15   jurors, okay?

16              MR. KELLY:    Your Honor, just a last note from the

17   government on this.     I think we're fine with deferring to

18   Your Honor.

19              Just one final possible suggestion for you to

20   consider would be in the catch-all question, currently 22,

21   where it says, do you have any religious, moral, or

22   philosophical reason, somewhere in there add, you know,

23   do you have any medical or religious, moral, or -- it's just

24   a possibility just to address the concerns.

25              THE COURT:    I could put "any medical reason."
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                                                                         28

1                Well, the problem is, that doesn't work, because

2    the ultimate question is, all those clauses are a predicate

3    to the question of being a fair and impartial juror.

4                MR. KELLY:    That's correct, Your Honor, just --

5    withdrawn.    I think the government is happy to defer to

6    Your Honor on this.

7                THE COURT:    Okay.   So I'll just leave it as is.

8                So those are the voir dire questions, the

9    background questions.

10               All right.    So I just want to turn then to

11   exhibits and witnesses.      Are there any sort of objections to

12   exhibits that -- or witnesses that anyone thinks can be

13   resolved now?    You know, trials are obviously fluid, and

14   maybe you all are still thinking through order and

15   presentation of your evidence, but if there's something that

16   needs to be taken up pretrial, we can do that now.

17               MS. MIRELL:    Yes, Your Honor.

18               We have several objections to the defendant's

19   witness list that can be addressed, we believe, now.

20               THE COURT:    Okay.

21               MS. MIRELL:    We'll start with the exhibits that

22   are subject to or excluded under this Court's order.

23               THE COURT:    Well, hang on.    I thought I heard you

24   say "witness list."      So are we talking witnesses or

25   exhibits?
     Case 1:21-cr-00208-APM Document 126 Filed 02/28/23 Page 29 of 80

                                                                        29

1               MR. KELLY:    I misspoke; I'm starting with the

2    exhibit list.

3               THE COURT:    Okay.

4               MS. MIRELL:    And focusing only on what the

5    government understands to be excluded by this Court's order

6    at ECF 75, I believe Exhibit 13, which is Officer N.R.'s

7    disciplinary records --

8               THE COURT:    Uh-huh.

9               MS. MIRELL:    -- the printout of his disciplinary

10   records, we believe is not admissible in this case, subject

11   to your Court's order.

12              THE COURT:    So let me just say this.

13              And, Mr. Monroe, you tell me if I'm wrong.

14              I guess I assumed, at least with respect to the

15   defendant's exhibit list, that some of this was put on there

16   in anticipation of potential impeachment.

17              MR. MONROE:    Yes, Your Honor.

18              THE COURT:    Just so you've got a number.

19              MR. MONROE:    It would not be admissible, as the

20   government suggested.

21              THE COURT:    I mean, there's a number of these, for

22   example, all the police --

23              MR. MONROE:    All subject to cross --

24              THE COURT REPORTER:      I can't hear you.

25              THE COURT:    That's okay.
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                                                                           30

1               Mr. Monroe, I've got to advise you to let me

2    finish and then -- so you can then start so we're not

3    talking over one another.

4               So in any event, I was just saying that, for

5    example, the first six exhibits are identified as police

6    reports, and I assumed -- and other police reports, and

7    that's obviously not coming in, and I just assumed it was

8    there for -- as a placeholder.

9               MR. MONROE:    Judge, my apologies.

10              Usually I'm excellent about being patient and not

11   to overtalk the judge.     And you'll see, I try to keep a high

12   level of decorum, probably more so than most attorneys

13   appear before the Court, but I apologize for that.

14              THE COURT:    That's okay.

15              MR. MONROE:    It will not happen again.

16              But the exhibit list, as I prepare them in this

17   case and in the past, some of them, I know straight out are

18   not going to be admissible.

19              But I can't anticipate what a witness is going to

20   testify to.    I may take it out to cross-examine a witness,

21   and that's already been marked for that purpose.          So I have

22   it available to me and I can impeach him on those subjects

23   where they may have not testified consistently with what's

24   reflected in the reports.

25              THE COURT:    Okay.
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1               And the other -- and, Ms. Mirell, I don't mean to

2    pre-empt your arguments, but, I mean, the other two that

3    sort of caught my eye were Mr. Webster's personnel records

4    from the military and the NYPD.       You know, I'm not sure

5    what, A, they consist of, and, B, what you're contemplating

6    doing with those.

7               You know, if the potential intention is that he's

8    going to testify and he's going to, as part of his

9    background, say he achieved the following things, you know,

10   I think in my order I said we'd talk about that a little bit

11   in terms of what the law of the scope of that is.

12              I mean, do you think -- and maybe the government

13   will disagree, but, you know, if he's going to testify, he

14   can provide some background and what rank did you achieve in

15   the Marine Corps, did you earn any service awards, okay.

16   Same thing with NYPD, "Did you earn any recognitions?"

17   "Yes, I did."    But I don't know that we then need the

18   documents to sort of back that up.

19              MR. MONROE:    Yeah.

20              Judge, I'll say that the Court's already visited

21   these documents in the past in other contexts.         But

22   Mr. Webster is a man of exceptional character.         He's lived a

23   truly outstanding life, and a lot of these achievements have

24   been documented.

25              I know, from a trial standpoint, they wouldn't be
     Case 1:21-cr-00208-APM Document 126 Filed 02/28/23 Page 32 of 80

                                                                          32

1    admissible.    But, again, I mark them as exhibits.        Sometimes

2    as I'm going through the gentleman's good background, I may

3    need to look at a few things and remind myself what types of

4    questions to ask this man so that he can explain to the jury

5    the outstanding character that he possesses.

6               So I mean, many times --

7               THE COURT:    Let me just interrupt you.

8               I mean, look, if what you've done is just to put

9    these in as a placeholder, that's fine for now.          But if --

10   and we'll have some time to think about this and you'll have

11   time to think about this.      But if the intention is to admit

12   any of these records, either independently or through your

13   client's testimony, we should have a discussion about that

14   before you try to introduce them, okay?

15              MR. MONROE:    Yes.

16              And I also am familiar with the certification

17   process that would come along with some of these public

18   records.

19              As I stand here today, Judge, I have no intention

20   to offer them as exhibits at trial.        But certainly the jury

21   is going to hear from Mr. Webster himself the testimony of

22   these accomplishments as to speak to this gentleman's good

23   character.

24              THE COURT:    Okay.

25              You know, there's sort of black letter of trial
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1    and then there's kind of the understanding of how trial

2    works.

3               And, you know, I think, Mr. Monroe, perhaps --

4    I'm not overstating, you certainly do understand, I hope,

5    that, for example, you can't argue to the jury that you

6    can -- that this is a person of good character because of

7    his achievements in the Marines, et cetera.

8               I mean, the question here is one of, as

9    I understand, of self-defense.       And, you know, character

10   testimony is relevant, but it's about opinion testimony from

11   other witnesses.    I don't know that somebody can bolster

12   their own character, but...

13              MR. MONROE:    So -- and let's talk about, for

14   example, and it occurs to me as you speak about the police

15   records.

16              We know on the self-defense issue, we can't elicit

17   testimony about the victim's propensities unless the

18   defendant himself knew about the victim.        Let's say the

19   victim was the neighborhood bully --

20              THE COURT:    Right.

21              MR. MONROE:    -- and he was familiar with the

22   bully.   And finally after the fifth or sixth time said,

23   "That's it, I'm not going to get beat get up again by the

24   neighborhood bully and that's why I defended myself."

25              But Mr. Webster here, he's going to be able to
     Case 1:21-cr-00208-APM Document 126 Filed 02/28/23 Page 34 of 80

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1    testify about his former time and training as a police

2    officer in this very context, and what he, as a defendant,

3    would have anticipated in his own training as to what N.R.'s

4    conduct would have been.

5               So in that context, Judge, we are taking the

6    position that Mr. Webster's training, and maybe even some of

7    his records that speak to this, is relevant as to what this

8    gentleman, in his unique position as a retired police

9    officer, would have anticipated, such as this, Judge.

10              Part of NYPD training, and I've attached it as one

11   of my exhibits in the back, talks about how to conduct

12   yourself as an officer when you're at a post.

13              THE COURT:    All right.    So let me interrupt you,

14   and I'm sure the government has some thoughts on it, but let

15   me say this:

16              It's a fine line we're going to have to walk here,

17   okay, in the following sense.       You know, a self-defense

18   defense obviously involves as part of it the person's

19   perception and the reasonableness of that perception.

20              That said, I'm not going to allow the NYPD

21   guidelines to be brought in as some sort of expert standard

22   of care evidence here, and it's not going to be used that

23   way.

24              To the extent that Mr. Webster might say, look,

25   I was surprised by what he did, given my training.          What was
     Case 1:21-cr-00208-APM Document 126 Filed 02/28/23 Page 35 of 80

                                                                          35

1    your training?    Well, we were told X, Y, and Z.        Okay, maybe

2    I'll allow some of that.

3               But you're not then going to put in the NYPD's

4    training manual to corroborate his testimony or to get

5    through the back door some sort of national or local

6    standards of care when you haven't designated an expert.

7               MR. MONROE:    Well, here, we have a fact witness --

8               THE COURT:    Understood.

9               MR. MONROE:    -- and his experience in this context

10   is unique to him as a former police officer.

11              THE COURT:    No.   I understand all that.      But you

12   don't need to put in the training manual or the training

13   protocols to do that.

14              And, frankly, what it ends up doing or the risk

15   here is it confused the jury and the jury is then supposed

16   to kind of take that protocol and training manual and sort

17   of assess it against what the officer did here.          And I'm not

18   going to allow that, because that really does sort of become

19   expert testimony.     I don't know, neither side has really

20   designated a use-of-force expert.

21              MR. MONROE:    Or to assess what someone in Tom's

22   experience, his reasonable anticipation of how the officers

23   would have conducted in this context.

24              Judge, I totally understand the Court's position.

25   I'm going to stand by --
     Case 1:21-cr-00208-APM Document 126 Filed 02/28/23 Page 36 of 80

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1               THE COURT:    I'll leave it at this, which is,

2    I'm not going to let it through direct.        If there's

3    cross-examination that potentially opens the door to that

4    kind of thing on redirect, I'll consider it.

5               But, you know, if, for example, the government

6    says, well, that's not true, is it, that the NYPD protocols

7    didn't say X, didn't say Y, and it turns out they actually

8    did say X or Y.    Maybe then on redirect you could bring it

9    in, but certainly not on direct examination.

10              MR. MONROE:    Yeah.

11              Well, Judge, I would offer my most respectful

12   exception.   We stand by it, sir.

13              THE COURT:    All right.

14              Sorry, Ms. Mirell, I sort of hijacked your

15   instructions.

16              MS. MIRELL:    You were much more eloquent than I

17   would have been.

18              In that same vein, though, I do want to highlight

19   Defense Exhibit 45.     Perhaps I don't understand the purpose

20   of Defense Exhibit 45 and how he intends to elicit it or

21   whether he intends to introduce it.

22              THE COURT:    I don't know, Mr. Monroe.       I mean --

23              MR. MONROE:    So this is a public source document,

24   Judge.

25              THE COURT:    It's a what?
     Case 1:21-cr-00208-APM Document 126 Filed 02/28/23 Page 37 of 80

                                                                        37

1                MR. MONROE:    It's something that was found

2    publicly.

3                THE COURT:    Yeah.   Right.   Right.

4                MR. MONROE:    So issues of excessive force is not

5    new to D.C. or the MPD or the DOJ, and this is something

6    they've been dealing with.

7                THE COURT:    Look, I guess the bottom line is this.

8    I don't know what you're going to use it for.         I think it is

9    appropriate if, for example, part of the theory of your

10   defense is that Officer N.R. acted inconsistently with an

11   MPD general order, then, I don't know that the government

12   would disagree with this, but you could, in the cross,

13   examine him about that and potentially even use the general

14   order to demonstrate that his actions were inconsistent that

15   day.

16               I don't know if that's going to happen or not or

17   that's your intention.      But my view is at this point I just

18   kind of have to wait and see what you intend to do with the

19   document.

20               And does the government have a different view of

21   how that document can be used?

22               MS. MIRELL:    Well, I think the defendant has

23   also -- that would be the purpose of Exhibit 46, as

24   I understand it.

25               But Exhibit 45, the memorandum of agreement that
     Case 1:21-cr-00208-APM Document 126 Filed 02/28/23 Page 38 of 80

                                                                          38

1    went into place even 15 years before this officer ever

2    joined the force and doesn't actually dictate the policy

3    that was applicable during January 6th, 2021.

4               THE COURT:    Hold on.

5               You said 45.    So I was focused on the MPD general

6    order series 901, but it sounds like you're talking about

7    44.

8               MS. MIRELL:    I may have misnumbered in my

9    spreadsheet.    My apologies, Your Honor.

10              MR. MONROE:    Judge, I think what she is speaking

11   about initially is 45 in defendant's list.         You can look at

12   my binder, sir.

13              THE COURT:    Maybe you all have updated something.

14   But I'm looking at ECF 74.       This is what was printed out

15   from.

16              MS. MIRELL:    I believe the defendant sent a

17   modified exhibit list; it may not be before Your Honor.            But

18   I think if you look at the exhibits in the binder,

19   Exhibit 45, the white binder.

20              THE COURT:    Okay.    All right.   This was originally

21   designated as 44, I think.       But okay.   Go ahead.

22              MS. MIRELL:    So government doesn't see the

23   relevance of this document at all.

24              THE COURT:    Was this something that the MPD

25   entered into as part of a consent decree with the MPD;
     Case 1:21-cr-00208-APM Document 126 Filed 02/28/23 Page 39 of 80

                                                                          39

1    is that correct?

2               MS. MIRELL:    My understanding, yes, the

3    equivalent -- or similar to a consent decree.

4               THE COURT:    Right.

5               I mean, I don't know what -- what are your

6    intentions with this, Mr. Monroe?

7               MR. MONROE:    Well, without giving up too much of

8    my defense strategy --

9               THE COURT:    Yeah, I understand.

10              MR. MONROE:    I don't know what the officer is

11   going to testify.     He's left out some big portions of what

12   transpired here.

13              But I will tell you this, Judge:        A lot of the

14   defense case is going to be not what documents were prepared

15   by this officer but what he didn't prepare.         And one of the

16   things he's supposed to prepare when there's actually a use

17   of force perpetrated by him on a civilian is he's got to

18   prepare a use-of-force report.       That's one of the hallmark

19   issues that were ruled upon between the Department of

20   Justice and the MPD.

21              However, I'll say this to you in all fairness to

22   the government, that same requirement also appears in their

23   guidelines.

24              THE COURT:    Right.

25              MR. MONROE:    So it's in both.
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1               But -- and I hate to just keep laying out cards

2    and cards, because I don't want to tip the government too

3    much off about that.

4               THE COURT:    No, that's fine.     I'm not asking you

5    to do that.

6               MR. MONROE:    But it's for impeachment purposes,

7    Judge.

8               THE COURT:    No, that's fine.

9               I guess what I said earlier, I'll just reemphasize

10   it, which is, I think it's fair for defense counsel to

11   pursue the officer's familiarity with general orders.              And

12   if there is a reason to cross-examine him with the general

13   order, you can do that.

14              I mean, if, for example, he's asked, you know,

15   isn't it true that if you use force, you're supposed to

16   complete a form.    And if he says no, then you can use a

17   general -- use the MPD general order to cross-examine him.

18   But if he says yes, there's no real point, okay?

19              MS. MIRELL:    May I just confer with my colleagues

20   to make sure we have nothing else to raise?

21              THE COURT:    Sure.

22              (Government counsel conferred off the record.)

23              MS. MIRELL:    I don't think we have any further

24   objections to the exhibits at this time, but we reserve our

25   right to object at trial.
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1               THE COURT:    All right.    Sure.

2               Mr. Monroe, do you have any particular exhibits or

3    witnesses you want to raise at this point?

4               MR. MONROE:    So I did give the government my

5    witness list.    It's mainly three character witnesses.            And

6    they will be brief.     I'm big on not belaboring the point

7    with the jury.    I make my couple points, sit down.        I'm very

8    systematic that way.

9               I did ask the government if they would produce two

10   of their investigators; one is a special agent, and the

11   other one is a detective from MPD.

12              I have to say, the government has been excellent

13   to deal with.    One of the detectives from MPD has some

14   availability issues.     I did tell the government that if -- I

15   mean, I don't know how long their case is going to take.

16   But if it conflicts with the case, I will take that witness

17   out of order, if I'm allowed to question him on direct just

18   to accommodate his scheduling.       But the government has

19   agreed to produce those two additional witnesses.          They're

20   not going to force me to chase these people around with

21   subpoenas for that purpose.

22              MS. MIRELL:    And, Your Honor, on that note,

23   I think the witness that defense counsel is referring to is

24   Detective Lauderdale.

25              The government, as of today, has decided, and we
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1    haven't had an opportunity to confer with defense counsel,

2    we will likely call Detective Lauderdale in our

3    case-in-chief.     And we would probably intend to do so on

4    Thursday, given that witness's availability.         So defendant

5    will have an opportunity to cross-examine.         And we will

6    provide relevant Jencks once we receive.

7               THE COURT:    Okay.

8               MR. MONROE:    I'm sure that's plenty.      I just -- if

9    something changes, I just want to reserve having him in my

10   case-in-chief if that's -- but I don't see why it would be.

11   For that witness I don't have a lot of questions, but I have

12   some important ones to ask him.

13              THE COURT:    Okay.

14              MS. MIRELL:    As for the character witnesses, the

15   government is not going to object now, but we may reserve

16   objection if they're cumulative, for example, during trial.

17              THE COURT:    Okay.

18              You know, there's three listed here.        That's not

19   an outrageous number.     So we'll see where that goes, but,

20   you know, just the present number doesn't trouble me.

21              Okay.   All right.    We've talked about exhibits,

22   witnesses.

23              Just to put everybody on notice, I will ask each

24   side to have an exhibit list ready to send back to the jury

25   of the exhibits that you have had admitted.
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1               And so what that means is that, A, you ought to be

2    prepared to -- ought to be ready to prepare such a list;

3    and, two, that that list exhibit -- the description of the

4    exhibit is fairly neutral, and that one that won't draw an

5    exhibit.   I looked through the exhibit list; I think, for

6    the most part, they're neutral.

7               The reason I do this is because I've had jurors

8    say, look, it would be nice to have had the list so we can

9    identify what the exhibits are and find things.          I don't

10   think that's going to be as big of an issue here in this

11   case since the evidentiary record is fairly limited, but

12   I'll just give everybody a heads-up as to that practice,

13   okay?

14              All right.    The last thing I wanted to raise

15   was -- and maybe we don't need to do this now, but one of

16   the motions concerned cross-examination of officer N.R.

17   about sort of the ongoing administrative issues.          I don't

18   know whether there's any factual update as to that, and we

19   are on the public record, and to the extent we need to go

20   off, we can do that, but if you can be mindful of that.

21              MR. KELLY:    Yes, Your Honor.

22              Just being vague, I think the most recent

23   information the government has was included in our reply

24   brief, which was the most recent update where there is still

25   one final piece to the government's understanding of that
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1    administrative investigation that is ongoing.

2               THE COURT:    Okay.

3               MR. KELLY:    It is actually possible, given the

4    timeline here, that sometime between now and next week, that

5    the final piece will be concluded.       We don't, sitting here

6    today, though, as of our most recent update this week, have

7    any further updates.

8               It does appear to still be open.

9               THE COURT:    Okay.

10              MR. KELLY:    But, of course, we will notify the

11   Court and defense counsel if that changes somehow in the

12   next several days.

13              THE COURT:    Okay.

14              Mr. Monroe.

15              MR. MONROE:    You know, Judge, on the day that I

16   got your short order in response to my mentioning of a

17   continuance, I was just about finishing a motion on that

18   point.   But I figured why belabor the Court with a motion

19   that the Court has already given some thought to and

20   considered.

21              But I just put this out to Your Honor from an

22   evidentiary standpoint:      N.R. is the government's key

23   witness.   What I expect the jury is going to hear is that

24   N.R. -- and I can speak with this on the record, or does the

25   government prefer I --
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1               MR. KELLY:    If it's going to the substance of the

2    investigation, Your Honor, we would ask to go off the

3    record.

4               MR. MONROE:    That there was a serious issue of use

5    of force that the Department of Justice --

6               MR. KELLY:    Your Honor --

7               THE COURT:    Hang on.

8               MR. MONROE:    -- clears him --

9               THE COURT:    Hang.    We are slipping into it.

10              MR. MONROE:    Yeah.

11              THE COURT:    Let's save this till the end.       We can

12   go off the record and have a longer conversation about that,

13   okay?

14              MR. MONROE:    Yes, sir.

15              THE COURT:    All right.    So we'll just put a pin on

16   that for a moment.

17              Okay.   All right.     You all have entered into some

18   stipulations, which is always welcomed.

19              The only thing I would note is that the

20   stipulations refer to U.S. Code Sections which often is

21   fairly Greek to jurors.      I would urge you to say something

22   in these stipulations that matches it up with the particular

23   count, because otherwise -- I mean, I know that presently

24   the jury instructions have the code section up top.          But to

25   make this a little easier for the jurors to be able to
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1    understand what stipulation is associated with which count,

2    I'd ask you to just make that amendment, okay?

3                All right.    Jury instructions.    You know, I don't

4    plan to go over them in any great detail today.          I usually

5    have a charge conference during trial.        But is there any

6    particular instruction that either side thinks we need to

7    deal with in advance of trial that we should take up?

8                MS. MIRELL:    Would the Court like the parties to

9    prepare the charges on the lesser included offenses?

10               THE COURT:    Prepare the charges -- I'm not sure

11   what you mean.

12               MS. MIRELL:    So, for example, Count 1, the 111

13   count, would the Court like the parties to prepare a charge

14   for Count 111(a), as opposed to with a the (b) enhancements?

15   Because as currently drafted, it has the elements.

16               THE COURT:    Hang on one second.     Let me just go to

17   it.

18               Okay.

19               MS. MIRELL:    So, for example, Count 1 lists six

20   elements.   If we were to include the lesser included offense

21   of just the 111(a) we would not have, for example, element

22   6.

23               THE COURT:    Oh, I see what you're saying.

24               MS. MIRELL:    Yeah.

25               THE COURT:    Look, I mean, the answer to that
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1    question is, it depends on whether you're asking for it.

2               MS. MIRELL:    Yeah.

3               THE COURT:    You know, if there's both, A, a

4    request, and, B, a basis.

5               And if that's the government's request, then both

6    the instructions ought to reflect that and the verdict form

7    should reflect it.

8               MS. MIRELL:    Okay.

9               THE COURT:    So if, for example, the government

10   will say to the jury, look, even if you don't think he used

11   a dangerous weapon in assaulting or resisting, then you, you

12   know, you can still find him and should find him guilty

13   without a weapon, that's fine, I'm okay with that; we just

14   need to make sure that's clear in both the instructions and

15   the verdict form.

16              MS. MIRELL:    In that case, we will likely submit

17   revised jury instructions --

18              THE COURT:    Yeah --

19              MS. MIRELL:    -- to reflect that.

20              THE COURT:    -- the Red Book has sort of standard

21   language about lesser includeds and how to go about dealing

22   with that.

23              And, you know, Mr. Monroe, you ought to have with

24   you -- we ought to get you a copy of what's called our

25   "Red Book" colloquially, which is the sort of standard jury
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1    instructions that get used in D.C.

2                MR. MONROE:    Yeah, I bought it, Judge.

3                THE COURT:    You bought it.    All right.    Great.

4                MR. MONROE:    Yeah, I wanted to fit right in with

5    the Red Book.

6                THE COURT:    You're ahead of me then.     All right.

7    Terrific.

8                So anyway, yes.    I mean, in terms of lesser

9    includeds, we can deal with that.       But if there's anything

10   else, speak now or you can wait until we get to the charge

11   conference.

12               Okay.   Let's talk then about trial process and

13   COVID protocols.

14               So our voir dire will be conducted not here but in

15   the Ceremonial Courtroom up on the sixth floor.          We have

16   called 70 jurors, which is 25 to 30 more than we usually

17   call, given the nature of the case.

18               I use what I referred to earlier as the notecard

19   method; that is, each juror receives a notecard.          The list

20   of voir dire questions is read off to them.         If they answer

21   "yes" to any of them, they write that number down on the

22   card.   If the answer is "no," they need not write anything

23   down.

24               The individual voir dire, which will be done of

25   every single juror, will be done in courtroom 16; it won't
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1    be done in the Ceremonial.      So once the question, initial

2    round of voir dire questioning is done, we'll have to move

3    to a different courtroom.      We'll empty the courtroom and

4    then head over there.     And we may not even need to do that

5    in this case, but we'll figure that out logistically.              And

6    so we'll do that in 16.

7               16 will be open to the public, but you all ought

8    to bear that in mind in terms of any follow-up questions you

9    have and also being sensitive to the juror's answers.              The

10   juror will have a phone available if they want to just speak

11   off the public record on a sensitive topic, so we'll make

12   that available to them.

13              I will do the voir dire follow-up primarily.            So,

14   you know, I'll go through a list of questions that they

15   answered "yes" and sort of suss out why they answered "yes"

16   and how it may impact their ability to be fair and

17   impartial.

18              I do allow, you know, follow-up questions from

19   counsel, but please keep it limited; otherwise, you know,

20   we'll be here not only all day but maybe all second day, and

21   I really would like to avoid that, okay?

22              If you believe a juror should be stricken for

23   cause, okay, please let me know.       The way this will sort of

24   logistically work is the juror will walk out of the room and

25   then another juror will come in.       Between those two things
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1    happening, the juror walking out and the other juror coming

2    in, please make your for-cause strike at that point, okay?

3    That way we can talk about it before the next juror comes

4    in.   And if I grant the for-cause strike, our instruction is

5    to dismiss that juror for the day.       So we reduce the number

6    of people in the courthouse, okay?

7               As I said, the voir dire will be public and there

8    may be media in the individual voir dire room.         Just bear

9    that in mind.

10              All right.    Peremptories and sort of final jury

11   selection.

12              I qualify 34 jurors.      So we'll seat 14; 12 are

13   deliberating, two alternates.       The defense gets ten strikes;

14   the government gets six.      Each side gets a strike for the

15   alternate, and I just qualify two more for good cause to be

16   on the safe side.     Depending upon timing of the day, we'll

17   either do that in the Ceremonial Courtroom or in the smaller

18   courtroom, depending upon how many people we have left.

19              The way I do the strikes is you'll each have a

20   sheet of paper.    You will write down your strikes on that

21   sheet of paper.    It asks for jury number and race and sex

22   that you should mark down for each juror for purposes of

23   Batson challenges.

24              You write down your strikes, you exchange papers

25   so you know what side -- what each side is striking, who
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1    each side is striking, and then they get handed up to me.

2    If there's an overlap in strikes, okay, you don't get an

3    extra strike for that, and so that's how we'll do it.

4                You can strike either into the box or into the

5    panel, meaning, you know, the first 14 qualified are

6    presumptively the first 14 who are going to be the jury.

7    But you can either strike those folks or anybody else who

8    might be coming in from the panel to replace a stricken

9    juror.    Any question about that?     Okay.

10               All right.    You have one strike -- we'll have two

11   alternates, so I'll ask each side to pick a number between 1

12   and 14.

13               Ms. Mirell?

14               MS. MIRELL:    7.

15               THE COURT:    And Mr. Monroe?

16               MR. MONROE:    5.

17               THE COURT:    Okay.

18               All right.    So jurors 5 and 7 -- or seat numbers

19   5 and 7 will be our alternates.       Obviously, you know, the

20   first row is 1 through 7, closest to my -- closest to the

21   bench.    The second row is 8 through 14.      We are going to

22   seat jurors in the box, which is not something I've done

23   during COVID times, but we're going to switch to that usual

24   practice.    So as I said, first alternate, seat 5; second

25   alternate, seat 7.
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1               When we're doing the strikes, I will put a pause

2    on -- there will be a break between your strikes for

3    deliberating jurors and alternate jurors, just because

4    I think, given the number of strikes, et cetera, it may be

5    difficult to picture who the next alternate could be coming

6    back in, so we'll have a pause and you can use your last

7    strike on our alternate if you want, okay?

8               As I said, we're going to use the box.         We will

9    have masking requirements for everybody in the courtroom;

10   for jurors, for counsel, for anybody from the public who is

11   here, courtroom staff, myself included.

12              The only exceptions for that are counsel who is

13   either opening or closing, asking questions, and the

14   witness.   If the witness is uncomfortable testifying without

15   a mask on, we will provide that witness a clear mask so the

16   witness's face can be seen, okay?       Any questions about that?

17              All right.    At each of your tables you will see a

18   telephone.   That is what you should use to speak to me for

19   essentially what we used to call bench conferences and do

20   bench conference, will now be done via the closed -- the

21   telephone here so there won't be any marching up to the

22   bench.   If there's an objection, if I ask for further

23   argument on that objection, we'll do it over the telephones,

24   okay?

25              The jury will have a separate room, separate
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1    courtroom for their breaks and for their deliberations; they

2    won't be going back to the jury room, because it's just too

3    small.

4               Final sort of miscellaneous trial practice is that

5    you ought to be aware of that I have -- my jurors can take

6    notes, but I don't allow them to ask questions.          The rule on

7    witnesses does apply, with the exception, obviously, of the

8    defendant.    And I don't know whether the government wishes

9    to have any case agent or an officer here who also may be

10   testifying.

11              MS. MIRELL:    The government will have its case

12   agent.

13              THE COURT:    Okay.   And will that case agent also

14   be a testifying witness?

15              MS. MIRELL:    Yes, Your Honor.

16              THE COURT:    All right.    I'm okay with that, and I

17   do allow a case agent to be at the table.

18              I have a 24-hour rule to give notice on who --

19   which witnesses will be called the next day.         So, you know,

20   the government ought to make sure Mr. Monroe has notice of

21   the witnesses it plans to call on Tuesday by Monday and so

22   on.

23              I expect jury selection is going to take all day

24   Monday, so I don't think anybody should expect to be opening

25   on Monday, okay?    And even if by some miracle we get through
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1    it quicker than I expect, I'm not going to ask anybody to

2    open on Monday; we'll open first thing Tuesday morning.

3               Trial schedule, just so you all know it, is trial

4    day will start at 9:30, goes till 12:30, we'll have an hour

5    for lunch, and that's -- and then we'll go as close to 5:00

6    as we can.

7               Unfortunately, just because of a variety of

8    reasons, I am going to have to actually stop at 4:00 p.m. on

9    Wednesday, Thursday, and Friday either to deal with sort of

10   administrative matters I have or another case.         So just bear

11   that in mind.    Unfortunately, we'll have one less hour of

12   testimony on Wednesday, Thursday, Friday.         If we spill into

13   next Monday, you know, we'll be -- there won't be any

14   limitations.

15              Okay.   Last thing and then I'll open up to both

16   sides to see if you have anything you want to add, and that

17   is just, at least right now, estimated length of openings?

18              MS. MIRELL:    For the government, 10 to 15 minutes.

19              THE COURT:    Okay.

20              Mr. Monroe.

21              MR. MONROE:    That would be the same, Judge.           We

22   have about 10, 15 minutes.

23              THE COURT:    Great.

24              And if either side intends to display any exhibits

25   during your openings, please make sure the other side is
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1    aware of that and has no objections to it.         I don't want to

2    deal with evidentiary objections during openings, okay?

3               All right.    That's my list.     Do you all have

4    anything on your list that you want to talk about before we

5    adjourn or any questions about process, et cetera?

6               MS. NIELSEN:    That was what I wanted to ask

7    Your Honor.    Kate Nielsen.

8               So this is obviously the first time that we've all

9    practiced in our court and I wanted to verify whether or not

10   Your Honor would like to have binders of printed exhibits, a

11   thumb drive of electronic exhibits.

12              THE COURT:    It looks like we have them, we've got

13   printed exhibits.     I personally don't need them.

14              The one thing I forgot to say is, you all ought

15   to, if you have not already, make an appointment, it's

16   already Thursday, but meet with John Cramer, who is our IT

17   person for the Court, and I don't know whether everybody's

18   done that, just to make sure you know your way around the

19   courtroom, the electronics and how to use them.

20              So I don't need any hard copies.        I mean, I guess

21   it's useful just in case there's a reason to have one, but

22   I can read on the screen just as well as anybody else can.

23              MS. NIELSEN:    Perfect.

24              THE COURT:    But then in terms of the exhibits that

25   go back to the jury, talk to Mr. Douyon, because we do have
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1    the capacity to have them electronically and for the jury to

2    pull exhibits up electronically.       So we don't necessarily

3    need to have hard-copy exhibits back there, but I'll leave

4    it to you all to sort that out with him.

5               MS. NIELSEN:    Okay.    Thank you, Your Honor.

6    We will do that.

7               Also, I think both sides have updated exhibit

8    lists, and we obviously will have a new witness on our

9    witness list.    Would you like us to provide updated lists

10   next week?

11              THE COURT:    We don't need a new witness list, but

12   I would like to have the most up to date, and Mr. Douyon

13   should have, a most up-to-date exhibit list.

14              MS. NIELSEN:    We have already exchanged with

15   Mr. Monroe.

16              THE COURT:    Just get us -- I'd like to have a copy

17   and Mr. Douyon should have a copy.

18              MS. NIELSEN:    Can we provide that next week in

19   case there are additional stipulations that we've talked

20   about?

21              THE COURT:    Yeah, if you can just get it to us

22   Monday.

23              MS. NIELSEN:    Monday?    Perfect.

24              All right.    I think those are mainly my

25   housekeeping questions, except I believe our office wanted
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1    to know if the public line would be available during the

2    trial?

3               THE COURT:    No.

4               Well, put it differently:       The courtroom will be

5    open.

6               MS. NIELSEN:    Oh, the courtroom will be open.

7               THE COURT:    So it's not my intention to pipe in

8    the public line.

9               But the courtroom will be open, so this will, as

10   required, be a public proceeding.

11              MS. NIELSEN:    Perfect.    Those were my questions.

12   Thank you so much, Your Honor.

13              THE COURT:    Okay.

14              Mr. Monroe, anything you'd like to raise or ask?

15              MR. MONROE:    No, Judge.

16              I did provide your clerk with our binder with

17   defendant's exhibits, and I also provided a binder also for

18   the government.    I have a hard copy.

19              I was served last night with additional discovery,

20   and in there was some handwritten notes from an interview of

21   Officer N.R.    So I anticipate adding that as a Defendant's

22   I'm sorry, court reporter, I'm trying to keep my mouth in

23   front of the microphone -- Exhibit 50.        Again, it wouldn't

24   be something we would be looking to put into evidence, but,

25   if needed, we would use it to cross-examine the officer as
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1    an additional inconsistent statement as to the events that

2    transpired on January the 6th.

3               THE COURT:    Okay.

4               All right.    Well, that's fine.     As I said, just as

5    long as I have the updated lists, and I understand there may

6    be additions, modifications during trial, that's fine, we

7    can -- we'll adjust.

8               Okay.   Anything else anybody wants to raise before

9    we adjourn?

10              MR. MONROE:    I was cut off.     And I was being as

11   diplomatic as I could, I didn't want to impede upon the

12   government's interest in keeping that part of the case

13   sealed.

14              THE COURT:    We've got to deal with that.       Yes, I

15   forgot about that.     Thank you for reminding me.       Sorry about

16   that.   Yeah, we'll take care of that in a moment.

17              Anything else?     Okay.

18              All right.    So at this point, I'm going to ask the

19   courtroom to be cleared so we can deal with an in-camera

20   matter.   And we do have the public line on right now;

21   that'll be disconnected as well, and this portion of the

22   transcript will be placed under seal.

23              (Sealed proceedings)

24

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                      C E R T I F I C A T E
                 I, William P. Zaremba, RMR, CRR, certify that
the foregoing is a correct transcript from the record of
proceedings in the above-titled matter.




Date:__February 25, 2023____ ____________________________
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